Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 1 of 22 PageID 1051
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 2 of 22 PageID 1052
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 3 of 22 PageID 1053
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 4 of 22 PageID 1054
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 5 of 22 PageID 1055
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 6 of 22 PageID 1056
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 7 of 22 PageID 1057
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 8 of 22 PageID 1058
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 9 of 22 PageID 1059
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 10 of 22 PageID 1060
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 11 of 22 PageID 1061
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 12 of 22 PageID 1062
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 13 of 22 PageID 1063
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 14 of 22 PageID 1064
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 15 of 22 PageID 1065
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 16 of 22 PageID 1066
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 17 of 22 PageID 1067
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 18 of 22 PageID 1068
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 19 of 22 PageID 1069
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 20 of 22 PageID 1070
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 21 of 22 PageID 1071
Case 2:21-cv-00079-Z Document 50 Filed 03/04/22   Page 22 of 22 PageID 1072
